                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION
                             5:03CV85-02-V
                             (5:01CR5-19-V)


STACEY LERELL NEWMONES,       )
     Petitioner,              )
                              )
          v.                  )                 O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


       THIS MATTER is before this Court on a document captioned as

“Petitioner’s Timely Filed Motion For Reconsideration Pursuant To

Federal Rules[sic] of Civil Procedure 59(e)” (document # 15).

For the reasons stated herein, and for the further reasons stated

in support of this Court’s Order of August 19, 2005 (by which it

denied the petitioner’s Motion to Vacate), the instant Motion

will be denied.

       Pertinent to this Motion, the record reflects that on March

13, 2001, a Bill of Indictment was filed, charging the petitioner

and 23 others with conspiring to possess with intent to distri-

bute 50 grams or more of cocaine base and 5 kilograms or more of

cocaine powder, all in violation of 21 U.S.C. §§841(a)(1) and

846.    The Indictment also reported that on February 3, 1998, the

petitioner had been convicted of two felony drug offenses by the

State of North Carolina.        Next, on April 23, 2001, the government




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filed an Information pursuant to 21 U.S.C. §851, specifically

identifying the petitioner’s two prior felony drug convictions.

     On December 26, 2001, the petitioner entered into a written

Plea Agreement with the government, whereby he agreed to plead

guilty to the charge set forth in the Indictment.            Such Agreement

further reflects the petitioner’s waiver of his right to colla-

terally challenge his conviction and/or sentence on any grounds

except ineffective assistance of counsel or prosecutorial miscon-

duct.

     On January 7, 2002, the petitioner appeared before the Court

for a Plea & Rule 11 Hearing.     On that occasion, the Court en-

gaged the petitioner in its standard lengthy colloquy to ensure

that his guilty plea intelligently and voluntarily was being

tendered.   After answering all of the Court’s questions, the

petitioner’s guilty plea was accepted.

     On June 12, 2002, the Court conducted a Factual Basis &

Sentencing Hearing.    At that time, the Court reviewed the peti-

tioner’s Pre-Sentence Report and found that he had only one

qualifying prior felony drug conviction for which his sentence

could be enhanced.     Ultimately, therefore, the Court determined

that the petitioner’s sentencing exposure was a statutory maximum

term of 20 years to life imprisonment.       At the conclusion of that

Hearing, the Court sentenced the petitioner to a term of 240-

months imprisonment.


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     The petitioner did not appeal his conviction or sentence,

but instead filed a Motion to Vacate in this Court on June 4,

2003.   In that Motion, the petitioner alleged that counsel had

been ineffective in three specific instances.         Relevant to this

Motion, the petitioner argued that counsel had been ineffective

because counsel knew or should have known that the petitioner had

not been convicted of any offenses which occurred on February 3,

1998 and, at any rate, such prior conviction “did not meet the

threshold requirement of Sec. 851”

     However, upon its review of that claim, this Court first de-

termined that the petitioner could not prevail, in any case,

because he had not even suggested that but for counsel’s alleged

deficiency, he would have pled not guilty and insisted upon going

to trial.   Moreover, the Court determined that the petitioner’s

claim was factually frivolous in that he was denying that he had

committed an offense on the date which was set forth in the

Indictment and in the government’s Information.          However, those

documents had listed the date in question as the date of convic-

tion, not the date on which the offense had been committed.

Therefore, that claim was flatly rejected by the Court.

     By this new Motion for Reconsideration under Rule 59(e), the

petitioner appears to have appropriated portions of someone

else’s 32-page brief and inserted his name as the petitioner, all

in an effort to raise several additional arguments, including


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that the Court erred in calculating his prior convictions, and

that the government failed to follow proper procedures in filing

its §851 Information.    Suffice it to say, however, the petitioner

is not entitled to any relief here.

     Indeed, to the extent that the petitioner is attempting to

raise matters which were not raised in his Motion to Vacate, such

claims must be rejected either as time-barred and/or successive.

To the extent that the petitioner is attempting to have the Court

revisit matters which already were rejected, he has failed to set

forth any valid basis for this Court to alter or amend its judg-

ment.

     That is, the petitioner’s rehashed complaints concerning his

attorney’s performance simply are not an appropriate basis upon

which a Motion to alter or amend under Rule 59(e) can be granted.

Moreover, even when construing this Motion more broadly, the

petitioner also has not raised any matter which could entitle him

to relief under Rule 60(b).

     Finally, as was previously noted, the recent U.S. Supreme

Court rulings in Blakely v. Washington, 542 U.S. 296 (2004) and

United States v. Booker/Fanfan, 125 S.Ct. 738 (2005) simply

cannot be retroactively applied in collateral proceedings.             Thus,

the petitioner’s renewed attempt to invoke them in this Motion

under Rule 59(e) simply is unavailing.       Therefore, the petition-

er’s Motion will be denied.


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SO ORDERED.



                                Signed: April 25, 2007




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